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                   7
                   8                               UNITED STA'JtEs BANKRUPTCY COURT

                   9                                         DISTRICT OF NEVADA
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                        In re:                                             Case No. BK-S-19-15333-MKN
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                                                                           Chapter 7
� -3�             11    LAS VEGAS LAND PARTNERS, LLC,
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                  12                     Debtor.
                                                                           DECLARATION  1  OF CHRISTINA ROUSH
                                                                           IN SUPPORT OF APPLICATION TO
                                                                           EMPLOY CUSHMAN & WAKEFIELD
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                  13                                                       U.S., INC. DBA CUSHMAN &


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                                                                           WAKEFIELD TO SELL CERTAIN REAL
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      ��          14                                                       PROPERTY AND TO PAY
      8g-:-:-                                                              COMMISSION PURSUANT TO 11 U.S.C.
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                  15                                                       §§ 327{a} AND 328{a) AND FEDERAL
                                                                           RULE OF BANKRUPTCY PROCEDURE
      t;l°Q
                  16                                                       2014
      � E--
                  17                                                       Date of Hearing:     April 7, 2022
                                                                           Time of Hearing:     11:00 a.m.
                  18                                                       Place: Courtroom No. 2, Third Floor
                                                                                                Foley Federal Building
                  19                                                                            300 Las Vegas Blvd., S.
                  20                                                                            Las Vegas, NV 89101

                  21   ·---------------- Judge: Honorable Mike K. Nakagawa
                  22             1, Christina Roush, hereby declard as follows:

                  23             1.     I am over the age of 18 years and I am competent to make this declaration. I have

                  24   personal knowledge of the facts set foJ"ili herein, except for those facts stated on information and

                  25   belief and, as to those facts, I am informed and believe them to be true. If called as a witness, I

                  26   could and would testify as to the matters �et forth below based upon my personal knowledge.

                  27             2.     I make this declaration to support the Application to Employ Cushman &

                  28   Wakefield U.S., Inc. dba Cushman & iWakejield to Sell Certain Real Property and to Pay
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              1     Commission Pursuant to 11 U.S.C. §§ 327(a) and 328(a) and Federal Rule of Bankruptcy

              2     Procedure 2014 (the "Application''). 1

              3            3.      This Declaration is made pursuant to Section 327 and FR.BP 2014(b) and is in
              4 support of the Application.
              5            4.      Cushman & Wakefield U.S., Inc. dba Cushman & Wakefield (".C.&W") is well
              6 suited for the type of representation required by the Trustee. C&W speciali7.es in the marketing
              7 and sale of commercial real property throughout the United States. Accordingly, the Trustee has




    .
              8 determined that C&W has the resources and experience necessary to effectively market and sell
              9     the Property in a manner that will derive the greatest benefit for the Debtors' bankruptcy estate
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   �         10 and its creditors.
�> .....                           A true and correct copy �f the proposed engagement letter with the Trustee is
    3 N'@,   11            S.

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    �u       12 attached hereto as Exhibit "1".
             13            6.      Following the Trustee's      uest that C&W market and sell the Property, C&Ws
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             14 conducted a search of its client list.
             15            7.      Based upon this review of its client list, C&W determined that it is a "disinterested
i]I          16 person" as defined by 11 U.S.C.§ 101 d does not hold or represent any interest adverse to the
 ii!
    �
             17 bankruptcy estate, except as slated below;
             18            8.      The conclusion 1hat C&1 is a "disinterested" person within the meaning of 11
             19     U.S.C.§ 101(14) for purposes of 11 U.S.�.§ 327(a) is based upon the fact neither C&W nor any
             20 of its associates:
             21                    (a)    Are or were a crecUtor, equity security holder, or insider of
                                          the Debtors except !as set forth herein;
             22
                                   (b )   Are or were, within two (2) years before the date of the
             23                           filing the bankruptcy petition, a director, officer or
             24                           employee of Debtbrs as specified in subparagraph (c) of
                                          Section 101(14) except as set forth herein;
             25
             26     1 Unless otherwise indicated, all chapter· and section references are to the Bankruptcy Code, 11

                    U.S.C. §§ 101-1532, and to the Federal Rules of Bankruptcy Procedure, Rules 1001-9037. The
             27 Federal Rules of Civil Procedure will be referred to as ''FRCP" and the Federal Rules of
             28 Bankruptcy   Procedure will be referred to as "FRBP." Unless otherwise expressly stated herein,
                all undefined, capitalized terms shall have the meaning ascribed to them in the Application.
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               1                    (c)     Hold, or have ever held, an interest materially adverse to the
                                            interest of the estate or of any class of creditors, equity
               2                            holders, or parties in interest, by reason of any direct or
                                                                    i


                                            indirect relationshi� to, or interest in, the Debtors or for any
               3                            other reason except as stated herein;
               4
                                    (d)     Represent, or have ever represented, the Debtors, insiders of
               5                            the Debtors, credi rs· of the Debtors, any other party in
                                            interest, or their i �. . tive attorneys and accountants except
               6                            as set forth herein; . d
               7                    (e)     Is a relative or iemployee of the U.S. Trustee or a
               8                            Bankruptcy Judge except as stated herein.

               9            9.      To the best of C&W's actual knowledge (without any duty of inquiry), none of the
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e.•   �       10     brokers, employees or agents ofC&W + will be directly involved in the markeling and sale of
    > .....
    .! N'            the Property have any connection with the debtor, creditors, any other party in interest, their

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              11
              12 respective attorneys and accountants, the United States trustee, or any person employed in the

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                     office of the United States trustee.
                            10.     C&W represents no interest that is adverse to the Trustee, to the Debtors' estate,

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       N'     15     any creditor, any party in interest, the U�S. Trustee, or any attorney or accountant employed by
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              16 the foregoing, in matters upon which it will be engaged as a realtor.
    � ...
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              17            11.     C&W is a disinterested �on within the meaning of 11 U.S.C. § 101(14) for

              18     purposes of 11 U.S.C. § 327(a), as it p�ns to representing the Trustee in marketing and sell the

              19 Property.
              20            12.     Subject to Court approval, the Trustee seeks to pay C&W pursuant to the

              21     following commission structure: one perbent (1%) of the total sales price of the Property. The
                                                            I
              22     commission shall be computed based on the total sales price, which shall include any mortgages,

              23     loans, or other obligations which may be assumed by a purchaser.

              24            13.     The Debtor's bankruptcy �tate shall be responsible for payment of forty percent

              25     (40%) of the commission and Forest Ci� shall be responsible for payment of sixty percent (600/o)

              26 of the commission.
              27            14.     The tenn of the employment of C&W will expire on March 6, 2023.

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             1           15.    The Application requests tlmt the employment of C&W be approved as of the

             2   filing of this Application.

             3           16.    No promises have been received by C&W or any of its associates, as to payment or

             4   compensation in connection with the abo�e-referenced bankruptcy case in accordance with the

             5   provisions of the Bankruptcy Code, the FR!BP, the Local Rules, and orders of the Court.

             6          I declare under penalty of perjury *der the laws of the United States that the foregoing is

             7   true and cotTect.
                                     ,..2',:llm


             8          Dated this                day of February, 2022.
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    �       10                                                        Christina Roush (Feb 25, 2022 16:01 PST)
    "'"                                                               Christina Roush
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